                Case 23-10831-MFW              Doc 985-1         Filed 02/14/24         Page 1 of 4




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re
                                                            Chapter 11

    Lordstown Motors Corp., et al.,1                        Case No. 23-10831 (MFW)

                                                            (Jointly Administered)
                                          Debtors.
                                                           Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)
                                                           Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

                 NOTICE OF SECOND INTERIM FEE APPLICATION OF
            BAKER & HOSTETLER LLP FOR ALLOWANCE OF COMPENSATION
             AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
               OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

            PLEASE TAKE NOTICE that Baker & Hostetler (the “Applicant”) has today filed the

attached Second Interim Fee Application of Baker & Hostetler LLP for Allowance of

Compensation and Reimbursement of Expenses for the Period from October 1, 2023 Through and

Including December 31, 2023 (the “Application”) with the United States Bankruptcy Court for

the District of Delaware (the “Bankruptcy Court”).

            PLEASE TAKE FURTHER NOTICE that objections, if any, to the Application must be

made in accordance with the Order Establishing Procedures For Interim Compensation And

Reimbursement of Expenses For Chapter 11 Professionals and Committee Members, entered July

25, 2023 [D.I. 181] (the “Interim Compensation Order”) and must be filed with the Clerk of the

Bankruptcy Court, 824 North Market Street, 3rd Floor, Wilmington, DE 19801, and be served

upon and received by (a) counsel to the debtors and debtors in possession in the above-captioned




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
            Case 23-10831-MFW          Doc 985-1         Filed 02/14/24     Page 2 of 4




cases (collectively, the “Debtors”), (i) White & Case LLP, 200 South Biscayne Boulevard, Suite

4900, Miami, FL 33131 (Attn: Thomas E Lauria (tlauria@whitecase.com), Matthew C. Brown

(mbrown@whitecase.com), and Fan B. He (fhe@whitecase.com)); (ii) White & Case LLP, 1221

Avenue    of   the   Americas   New     York,       NY     10020   (Attn:    David        M.    Turetsky

(david.turetsky@whitecase.com)); (iii) White & Case LLP, 111 South Wacker Drive, Suite 5100,

Chicago, IL 60606 (Attn: Jason N. Zakia (jzakia@whitecase.com)); and (iv) White & Case LLP,

555 South Flower Street, Suite 2700, Los Angeles, CA 90071 (Attn: Roberto Kampfner

(rkampfner@whitecase.com),      Doah    Kim     (doah.kim@whitecase.com),          and         RJ   Szuba

(rj.szuba@whitecase.com)); (b) proposed counsel to the Debtors, Womble Bond Dickinson (US)

LLP, 1313 North Market Street, Suite 1200 Wilmington, DE 19801 (Attn: Donald J. Detweiler

(don.detweiler@wbd-us.com), and Morgan L. Patterson (morgan.patterson@wbd-us.com));

(c) counsel to the Official Committee of Unsecured Creditors, (i) Troutman Pepper Hamilton

Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market Street, Wilmington, DE 19801 (Attn:

David    M.     Fournier   (david.fournier@troutman.com)           and      Tori     L.        Remington

(tori.remington@troutman.com)); (ii) Troutman Pepper Hamilton Sanders LLP, 3000 Two Logan

Square, 18th & Arch Streets, Philadelphia, PA 19103-2799 (Attn: Francis J. Lawall

(francis.lawall@troutman.com)); (iii) Troutman Pepper Hamilton Sanders LLP, 875 Third

Avenue, New York, NY 10022 (Attn: Deborah Kovsky-Apap (deborah.kovsky@troutman.com));

and (iv) Troutman Pepper Hamilton Sanders LLP, 4000 Town Center, Suite 1800, Southfield, MI

48075 (Attn: Sean P. McNally (sean.mcnally@troutman.com)); (d) the Office of The United States

Trustee for the District of Delaware, 844 King Street, Suite 2207, Wilmington, DE 19801 (Attn:

Benjamin A. Hackman (Benjamin.A.Hackman@usdoj.gov)); and (e) counsel to the Official

Committee of Equity Security Holders, (i) Brown Rudnick LLP, 7 Times Square, New York, NY



                                                2
            Case 23-10831-MFW          Doc 985-1    Filed 02/14/24      Page 3 of 4




10036 (Attn: Robert J. Stark (rstark@brownrudnick.com) and Bennett S. Silverberg

(bsilverberg@brownrudnick.com)); (ii) Brown Rudnick LLP, One Financial Center, Boston, MA

02111 (Attn: Matthew A. Sawyer (msawyer@brownrudnick.com)); and (iii) Morris James LLP,

500 Delaware Avenue, Suite 1500, Wilmington, DE 19801 (Attn: Eric J. Monzo

(emonzo@morrisjames.com) and Brya M. Keilson (bkeilson@morrisjames.com)) by no later than

4:00 p.m. (ET) on March 7, 2024 (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that a hearing to consider this Application will be

held before The Honorable Mary F. Walrath at the United States Bankruptcy Court for the District

of Delaware, 824 North Market Street, 5th Floor, Courtroom No. 4, Wilmington, Delaware 19801

on March 14, 2024 at 3:00 p.m. (ET).

       PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND IN

ACCORDANCE WITH THIS NOTICE, THE COURT MAY GRANT THE RELIEF

REQUESTED IN THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.




                         [Remainder of Page Intentionally Left Blank]




                                               3
             Case 23-10831-MFW           Doc 985-1    Filed 02/14/24    Page 4 of 4




Dated: February 14, 2024
Wilmington, Delaware

 /s/ Morgan L. Patterson
 WOMBLE BOND DICKINSON (US) LLP                    WHITE & CASE LLP
 Donald J. Detweiler (DE Bar No. 3087)             Thomas E Lauria (admitted pro hac vice)
 Morgan L. Patterson (DE Bar No. 5388)             Matthew C. Brown (admitted pro hac vice)
 1313 North Market Street, Suite 1200              Fan B. He (admitted pro hac vice)
 Wilmington, Delaware 19801                        200 South Biscayne Boulevard, Suite 4900
 Telephone: (302) 252-4320                         Miami, FL 33131
 Facsimile: (302) 252-4330                         Telephone: (305) 371-2700
 don.detweiler@wbd-us.com                          tlauria@whitecase.com
 morgan.patterson@wbd-us.com                       mbrown@whitecase.com
                                                   fhe@whitecase.com
 Counsel to the Debtors and Debtors in
 Possession                                        David M. Turetsky (admitted pro hac vice)
                                                   1221 Avenue of the Americas
                                                   New York, NY 10020
                                                   Telephone: (212) 819-8200
                                                   david.turetsky@whitecase.com

                                                   Jason N. Zakia (admitted pro hac vice)
                                                   111 South Wacker Drive, Suite 5100
                                                   Chicago, IL 60606
                                                   Telephone: (312) 881-5400
                                                   jzakia@whitecase.com

                                                   Roberto Kampfner (admitted pro hac vice)
                                                   Doah Kim (admitted pro hac vice)
                                                   RJ Szuba (admitted pro hac vice)
                                                   555 South Flower Street, Suite 2700
                                                   Los Angeles, CA 90071
                                                   Telephone: (213) 620-7700
                                                   rkampfner@whitecase.com
                                                   doah.kim@whitecase.com
                                                   rj.szuba@whitecase.com

                                                   Counsel to Debtors and
                                                   Debtors in Possession




                                               4

WBD (US) 4873-1160-2320v2
